EXHIBIT 5
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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


Andrea K. Drake, et al.,                                       Case No. 1:13-dp-20140

                       Plaintiffs,

       v.                                                      MEMORANDUM OPINION
                                                                   AND ORDER

DePuy Orthopaedics, Inc., et al.,

                       Defendants.


                                      I.      INTRODUCTION

       Plaintiffs William and Andrea Drake have filed a motion to vacate an arbitration award

obtained by Steven Johnson, Plaintiffs’ former attorney, from an arbitrator in Texas. (Doc. No. 7).

Johnson has filed a competing motion to confirm the arbitration award. (Doc. No. 7; 3:17-dp-

20085). I previously concluded I have subject matter and personal jurisdiction over this case and

Johnson and granted Plaintiffs’ motion to enforce the Master Settlement Agreement. (Doc. No. 30).

The Sixth Circuit denied Johnson’s appeal on that decision as premature, Drake v. DePuy Orthopaedics,

Inc., 757 F. App'x 449 (6th Cir. 2018), and this matter now is before me for the resolution of

Plaintiffs’ motion to vacate and Johnson’s motion to confirm. For the reasons stated below, I deny

Johnson’s motion, and I grant Plaintiffs’ motion to vacate the arbitration award.

                                       II.     BACKGROUND

       The Sixth Circuit accurately and succinctly summarized the factual and procedural

background of this dispute, and I will reiterate that summary here for consistency:




                                             EXHIBIT C-1
Plaintiff William Drake is a Minnesota resident. He is married to Andrea Drake, and
has lived in Minnesota for approximately forty years. He received Articular Surface
Replacement (“ASR”) hip implants that were manufactured by DePuy Orthopaedics
Inc., in both of his hips, at a hospital located in Minnesota. In 2010, DePuy recalled
the ASR implants (“MDL Action”) that Mr. Drake received. The Drakes learned of
the recall through a television advertisement from a law firm representing persons
who received DePuy ASR implants subject to this recall. Mrs. Drake called the
number on the advertisement and thereafter began discussions with Johnson
through his law firm. The Drakes did not know where the law firm was located
when they initiated contact, but eventually learned that it was in Texas. Other than a
brief layover in a Texas airport, Mr. Drake has never been to Texas.

Between September 28, 2010, and January 19, 2012, Johnson’s law firm contacted
the Drakes through calls and letters approximately fifty-seven times, which generally
resulted in the firm leaving voicemails. During that time period, following six
months of no direct contact from the Drakes, Johnson’s law firm sent Mr. Drake a
final letter, which stated that “[f]ailing to contact us may result in the closing of your
file and the loss of your rights.” . . . Five days later, on January 24, 2012, Mr. Drake
signed the form contract (Attorney Representation Agreement, or “ARA”) Johnson’s
firm had previously sent him. The ARA included an arbitration clause, stating that in
the event of a dispute, arbitration would be held in Fort Worth, Texas.

On November 28, 2012, Johnson was informed by the Drakes that they intended to
terminate their ARA with him, and secure different counsel. Shortly thereafter,
Johnson filed a short-form complaint on behalf of the Drakes in the MDL Action in
Ohio. Once the Drakes hired a local law firm to represent him, the new law firm
filed a complaint in Minnesota, and the case was transferred to the Northern District
of Ohio court handling this MDL. Before Johnson dismissed the complaint he filed
on behalf of the Drakes, he put the Drakes’ new attorneys on notice of his attorney’s
fee lien on any recovery from the Drakes’ MDL lawsuit. Johnson dismissed the case
he filed with the following stipulation:

        The parties further agree and stipulate that this dismissal shall have
        no effect on Plaintiff’s pending case in the United States District
        Court, Northern District of Ohio, filed by the law firm of
        Meshbesher & Spence, Ltd. on January 24, 2013 (Case No. 1:30-dp-
        20140).

        The Parties further recognize that the Johnson Law firm has asserted
        a claim on any recovery the Plaintiff may make for any injuries related
        to the DePuy ASR for the full amount of all monies that [the
        Johnson Law Firm] is entitled to under the terms of its contract with
        the Plaintiff and that this dismissal shall have no effect on those
        claims.

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                                     EXHIBIT C-2
          DePuy Orthopaedics, Inc. reached a settlement agreement with the plaintiff class in
          the MDL Action in November 2013, and the Drakes signed on to this settlement
          agreement shortly thereafter. The settlement agreement specifically outlines how
          disputes connected with the MDL Action are to be handled, which includes
          arbitration and the use of a Special Master and/or Claims Processor that have already
          been appointed through the MDL Action settlement process.

          In an effort to litigate the fee dispute arising out of the MDL Action, Johnson
          initiated a JAMS arbitration in Dallas, Texas on July 31, 2014. The next day, he filed
          an action in the Northern District of Texas, Fort Worth Division, to compel the
          Drakes to arbitrate in Texas. . . . The Fort Worth district court dismissed Johnson’s
          action for lack of personal jurisdiction (in personam) over Mr. Drake. The
          arbitration continued, despite and over the Drakes’ objections to both the individual
          arbitrator selected and to the Texas forum.

          On February 16, 2016, the Drakes initiated the ADR process regarding the parties’
          fee dispute, as dictated by the MDL Action settlement agreement, through Special
          Master Cathy Yanni of JAMS. Two days later, Johnson again moved to compel the
          Drakes to arbitration in Texas, this time filing in a Dallas district court. Special
          Master Yanni issued an order dismissing the Drakes’ arbitration request on the basis
          that she did not have jurisdiction over the matter because it was already pending in a
          different forum with another JAMS arbitrator. Shortly afterwards, before the district
          court in Dallas issued any substantive rulings, Johnson voluntarily dismissed that
          action.

          The Texas arbitrator issued a final award in favor of Johnson on June 22, 2016 (later
          corrected for a typographical error and re-issued on July 7, 2016). Of the Drakes’
          settlement award, the arbitrator authorized over sixty-two percent to be distributed
          to Johnson, Johnson’s attorneys, and the JAMS arbitration process. Johnson then
          filed another action in the district court in Dallas, where he moved that the court
          confirm the arbitration award. The Drakes then filed a motion to enforce the MDL
          Action settlement agreement and to vacate the arbitration award in the Ohio district
          court. The Ohio district court granted the Drakes’ motion to enforce the settlement
          agreement and did not reach the motion to vacate the arbitration award. The next
          day, the Dallas district court sua sponte transferred Johnson’s motion to confirm the
          arbitration award to be consolidated with the MDL case in the Ohio district court.
          Johnson timely appealed the Ohio district court’s order.

Drake, 757 F. App’x at 450–52 (6th Cir. 2018) (footnotes and internal citations omitted) (alterations

added).

          The Sixth Circuit concluded it did not have appellate jurisdiction over Johnson’s appeal

because my earlier order did not resolve “the issue of how to deal with the arbitration award . . . .”




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                                             EXHIBIT C-3
Id. at 453. The court of appeals remanded the case for further consideration of Johnson’s motion to

confirm and the Drakes’ motion to vacate.

                                            III.     ANALYSIS

        Federal law “mandate[s] the enforcement of arbitration agreements.” Southland Corp. v.

Keating, 465 U.S. 1, 10 (1984). Arbitration agreements are “irrevocable . . . save upon such grounds

as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2; see also Salvano v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 647 N.E.2d 1298, 1302 (N.Y. 1995) (Arbitration agreements are

governed by “the accepted rules of contract law.”); J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223,

227–28 (Tex. 2003) (“[W]hen deciding whether the parties agreed to arbitrate, ‘courts generally . . .

should apply ordinary state-law principles that govern the formation of contracts.’”) (quoting First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)).

        The Drakes and Johnson entered into the ARA in January 2012. The ARA stated that Texas

law applied to the terms of that agreement. (Doc. No. 10-4 at 1). While the ARA does not contain

a provision governing amendments to the contract, Texas law plainly contemplates that parties to a

contract may amend their written arbitration agreement through a subsequent writing. See, e.g., J.M.

Davidson, Inc., 128 S.W.3d at 227–29.

        The Drakes and Johnson later became subject to another agreement – the 2015 ASR

Settlement Agreement dated March 2, 2015 (the “2015 Settlement Agreement”), which modified and

extended the initial ASR Settlement Agreement dated November 19, 2013 (the “2013 Settlement

Agreement”). The Drakes settled their claims under the 2013 Settlement Agreement, though those

claims still were active in the claims process when the 2015 Settlement Agreement took effect.

        An MDL court’s “inherent authority” to create and enforce mechanisms which “bring

management power to bear upon massive and complex litigation” is well established. In re Vioxx

Prods. Liab. Litig., 760 F. Supp. 2d 640, 648 (E.D. La. 2010) (discussing a court’s authority to assess


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                                              EXHIBIT C-4
common benefit attorneys’ fees against a pool of funds used to compensate MDL plaintiffs and

attorneys) (quoting In re Air Crash Disaster at Fl. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1012 (5th

Cir. 1977)). So too is the requirement that a court “exercise supplemental jurisdiction over fee

disputes that are related to the main action.” Kalyawongsa v. Moffett, 105 F.3d 283, 287-88 (6th Cir.

1997).

         Johnson’s claims, which are dependent upon a recovery by the Drakes “by way of

settlement, judgment or otherwise,” (Doc. No. 10-4 at 1), are squarely based upon the Master

Settlement Agreement. The amount, scope, and timing of the Drakes’ recovery under the U.S.

Program (the private claim resolution program established by the 2013 Settlement Agreement and

revised by the 2015 Settlement Agreement) is determined by the provisions of the 2015 Settlement

Agreement. That agreement specifically provides that any dispute concerning the 2015 Settlement

Agreement or “any U.S. Program Claim . . . shall be submitted to the Claims Administrator who

shall sit as a binding arbitration panel and whose decision shall be final, binding and Non-

Appealable.” (2015 Settlement Agreement, § 14.1.2).

         The fact that Johnson no longer represented the Drakes at the time they entered into the

2013 Settlement Agreement does not alter the conclusion that Johnson’s claim for his alleged lien is

governed by the terms of that and subsequent Settlement Agreements. Johnson represents

numerous plaintiffs who settled their claims pursuant to one or more of the ASR Settlement

Agreements. Moreover, even a plaintiff who is not a signatory to a contract containing an

arbitration agreement “may be compelled to arbitrate if his claims are ‘based on a contract’

containing an agreement to arbitrate.” Branch Law Firm L.L.P. v. Osborn, 532 S.W.3d 1, 12 (Tex.

App. 2016) (quoting In re Kellogg Brown & Root, Inc., 166 S.W.3d 732, 740 (Tex. 2005)); see also Belzberg

v. Verus Invest. Holdings Inc., 999 N.E.2d 1130 (N.Y. 2013) (holding a nonsignatory is bound by an




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                                             EXHIBIT C-5
agreement containing an arbitration clause when the nonsignatory directly derives a benefit from the

agreement).

           In short, the Drakes and Johnson agreed to a contract which contained a binding

arbitration provision – the 2015 Settlement Agreement. The subsequent arbitration Johnson

initiated and pursued, however, did not comport with the parties’ agreement. Permitting a party to

any contract – to say nothing of one governing an area as broad and complex as the area this MDL

addresses – to choose which provisions of that agreement it will abide by, and which it won’t, simply

is untenable. What is more problematic, in this case, is that it also violates federal law.

          The Federal Arbitration Act provides that a party which has been “aggrieved by the alleged

failure . . . of another to arbitrate under a written agreement for arbitration may petition . . . for an

order directing that such arbitration proceed in the manner provided for in such agreement.” 9

U.S.C. § 4. More precisely, to these circumstances, “[i]f in the agreement provision be made for a

method of naming or appointing an arbitrator or arbitrators or an umpire, such method shall be

followed . . . .” 9 U.S.C. § 5 (emphasis added). Parties to an arbitration agreement “may specify with

whom they choose to arbitrate their disputes.” Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S.

662, 683 (2010) (emphasis original).

          The 2015 Settlement Agreement expressly provides a specific process for arbitration and

identifies a particular arbitrator. The Texas arbitration neither followed that process nor used that

arbitrator. “[A]rbitration awards made by arbitrators not appointed under the method provided in

the parties’ contract must be vacated.” PoolRe Ins. Corp. v. Organizational Strategies, Inc., 783 F.3d 256,

263 (5th Cir. 2015) (quoting Brook v. Peak Int’l, Ltd., 294 F.3d 668, 673 (5th Cir. 2002)) (emphasis

added).

          Therefore, I vacate the Texas arbitration award and order the Drakes and Johnson to adhere

to the arbitration procedures set forth in the 2015 Settlement Agreement, including arbitration


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                                              EXHIBIT C-6
before the Claims Administrator or, if the Claims Administrator is unable to preside over the

arbitration, before “one of the Special Masters who has not rendered any decision with regard to the

matter at issue . . . .” (2015 Settlement Agreement, § 14.1.2 - 14.1.3).

                                         IV.      CONCLUSION

        For the reasons stated above, I deny Johnson’s motion to confirm the arbitration award,

grant the Drakes’ motion to vacate the arbitration award, and order the parties to proceed with

arbitration as contemplated by the 2015 Settlement Agreement.

        So Ordered.




                                                        s/ Jeffrey J. Helmick
                                                        United States District Judge




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                                               EXHIBIT C-7
                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


Steven M. Johnson,                                           Case No. 1:17-dp-20085

                       Petitioner,

       v.                                                    JUDGMENT ENTRY


William Scott Drake,

                       Respondent.


       For the reasons stated in the Memorandum Opinion and Order filed in Drake v. DePuy

Orthopaedics, Inc., Case. No. 1:13-dp-20140, I deny the motion of Steven Johnson to confirm the

arbitration award, grant the motion of William and Andrea Drake to vacate the arbitration award,

and order the parties to proceed with arbitration as contemplated by the 2015 Settlement

Agreement.

       So Ordered.




                                                      s/ Jeffrey J. Helmick
                                                      United States District Judge




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